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Attomeys for: Plaintiff Regan Carroll Trust
UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

REGAN CARROLL TRUST, Regan

Can‘oll, trustee,
Plaintiff,

V°

CITY AND COUNTY OF SAN

FRANCISCO, et al.

De fe ndants .

SAN FRANCISCO

ACTION NO: C-07-2577 SBA

PLAINTIFF’S NOTICE OF APPEAL

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Plaintiff and Appellant REGAN CARROLL TRUST, Regan Carroll,
trustee, appeals to the Ninth Circuit Court of Appeals from the October 1, 2008 order

dismissing his complaint pursuant to FRCP 12(b)(6).

Date: October 31, 2008

ZACKS UTRE CHT 8c LEADBETTER, P.C.
235 Montgomery Street, Suite 1130
San Francisco, CA 94104

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Attorneys for Plaintiff/ Appellant

 

 

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Notice of App€al 0 R l G‘ N Alw_z§p SBA l

 

 

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PROOF OF SERV!QA E BY MAIL

I, Alycia Zammarchi, declare as follows:

I am over eighteen years of age and not a party to the within action; l served the
pleadings referred to herein; my business address is 235 Montgomery Street, #400, San Francisco,
California 94104. I arn` readily familiar with the business practice for collection and processing of
correspondence for mailing with the United States Postal Service, and that the correspondence would
be deposited with the United States Postal Service that same day in the ordinary course of business

On 0ctober 31, 2008, l served:
Plaintiff’s Notice of Appeal
by mailing a true copy to:
Kristen Jensen '
O_Hice of the City Attomey
1 Dr. Carlton B. Goodlett Place
City Hall, Room 234
San Francisco, CA 94102

#The envelopes were sealed and placed for collection and mailing on said date following ordinary
business practices

I declare under penalty of perjury that the foregoing is true and correct and that this declaration
was executed at San Francisco. ' '

Dated: October 31 , 2008

962¥¢&

g v
Alycia Zarnmarchi

 

 

 

 

 

